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                         UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF NEW YORK

SANTANDER CONSUMER USA, INC.,
                                         Civil Case No.: 7:22-cv-08870-KMK
           Plaintiff,

     v.

THE CITY OF YONKERS and A.P.O.W.
TOWING, LLC,

           Defendants.




 PLAINTIFF SANTANDER CONSUMER USA, INC.’S MEMORANDUM OF LAW
 IN SUPPORT OF ITS MOTION FOR LEAVE TO FILE AMENDED COMPLAINT
   PURSUANT TO FED. R. CIV. P. 15 AND EXTEND DISCOVERY DEADLINES




                                              NORRIS McLAUGHLIN, P.A.

                                              Alexander Ryan Sokolof
                                              Nicholas A. Duston
                                              7 Times Square, 21st Floor
                                              New York, New York 10036
                                              (212) 808-0700
                                              arsokolof@norris-law.com
                                              naduston@norris-law.com

                                              Attorneys for Plaintiff
                                              Santander Consumer USA, Inc.
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       Plaintiff Santander Consumer USA, Inc. (“Santander”) respectfully submits this

memorandum of law; the accompanying Declaration of Alexander Ryan Sokolof, Esq., sworn to

on May 12, 2023 (“Sokolof Dec.”); the exhibits attached thereto; and all prior pleadings and

proceedings in this action, in support of its motion for an Order granting Plaintiff leave to file and

serve an amended complaint (attached as Exhibit F to the Sokolof Dec.), adding Yonkers Towing

& Recovery LLC (“YTR”) as an additional defendant, pursuant to Rules 15, 16, and 21 of the

Federal Rules of Civil Procedure.

                                 PRELIMINARY STATEMENT

       This action is about whether Defendant The City of Yonkers’s (“Yonkers”), Defendant

A.P.O.W. Towing, LLC’s (“APOW”), and non-party/Proposed Defendant YTR’s (together with

APOW, the “Tow Companies”, and together with Yonkers and APOW, “Defendants”) regular

policy or custom for handling seized motor vehicles systematically deprives lienholders, and

others, of their constitutional rights in those vehicles. Specifically, the case addresses the right to

be free of unreasonable seizure and the right to be free of deprivations of property without due

process of law. The allegations of the amended complaint are direct, meet the standard for pleading

constitutional violations in a manner that satisfies the facial-plausibility pleading standard, and are

based on long-settled precedent regarding Santander’s Fourth and Fourteenth Amendment rights.

Amending the complaint will therefore not be futile, and should be permitted.

       During the pendency of this matter, discovery revealed that APOW, who had a contract

with Yonkers to tow and store vehicles on behalf of Yonkers dated Feb. 1, 2020 (the “Contract”),

had assigned its contract to another entity, YTR, via an Assignment Agreement also dated Feb. 1,

2020 (the “Assignment”). Yonkers’ documents indicate that APOW towed the vehicle in question,

but the Assignment predates the towing of this vehicle. APOW refused to provide discovery in



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this action by claiming a lack of knowledge regarding the towing of the subject vehicle, but also

failed to even produce the Assignment—which was obtained from Yonkers—or explain why some

of Yonkers’ documents indicate APOW, and not YTR, towed the vehicle. Without an amendment

to add YTR, the Court cannot fully adjudicate liability in this matter or sort out the discrepancy

regarding whether APOW or YTR towed the vehicle (or whether they are one and the same entity).

Based solely on the Assignment, Santander has a good faith basis to proceed against both YTR

and APOW, given that the Assignment was signed by the same person, Harold Wustenhoefer, on

behalf of both YTR and APOW. YTR should be added to the complaint to ensure that the Tow

Companies’ liability will be fully adjudicated to ensure that justice will be afforded properly and

effectively.

                                  STATEMENT OF FACTS

       On April 23, 2021, Santander entered into a Retail Installment Contract with Shamar

Turner for the purchase of a 2018 Land Rover bearing the Vehicle Identification Number

SALVP2RX8JH267217 (the “Vehicle”). Sokolof Dec. ¶ 2, Exhibit A. Santander perfected a lien

on the vehicle on June 9, 2021. Sokolof Dec. ¶ 3, Exhibit B. On August 6, 2021, Santander received

a letter notifying it that on June 16, 2021, the Vehicle “was towed by APOW Towing under the

direction of the Yonkers PD.” Sokolof Dec. ¶ 4, Exhibit C. On Jan. 5, 2022, APOW advised that

the Vehicle would not be released to Santander unless it paid APOW around $7,700 and provided

APOW with a hold harmless agreement. Sokolof Dec. ¶ 5, Exhibit D.

       Santander filed the complaint in this action on Oct. 18, 2022 (the Complaint), alleging

Defendants’ regular policy or custom for handling seized motor vehicles systematically deprives

lienholders in those vehicles of their constitutional rights, specifically the right to be free of




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unreasonable seizure and the right to be free of deprivations of property without due process of

law. Dec. ¶ 6, Exhibit E.

       Yonkers filed an answer Nov. 15, 2022. Dec. ¶ 7. APOW filed its amended answer Nov.

19, 2022, denying, among other allegations, that it “holds a contract whereby it regularly tows

vehicles at the direction of police within a set geographical location and APOW towed the Subject

Vehicle under such contract.” Dec. ¶ 8, Exhibit G.

       On Feb. 24, 2023, Santander served interrogatories, requests for admissions, and requests

for production on Defendants. Dec. ¶ 9. APOW responded on March 8, 2023. Id. APOW denied,

among other requests, that it “tows motor vehicles pursuant to a contract (or contracts) between

APOW and Yonkers wherein APOW provides towing services to, and at the request of, Yonkers

Police Department.” Id. at Exhibit H.

       On April 4, 2023, Yonkers served its production in response to Santander’s request for

production of documents. Included in its production was a contract between Yonkers and APOW,

dated Feb. 1, 2020 (the “Contract”), whereby APOW agreed to tow and store vehicles at the

direction of Yonkers. Dec. ¶ 10, Exhibit I. Also included in Yonkers’ production was an

assignment between Yonkers, APOW, and YTR, executed on or around Dec. 11, 2020 (the

“Assignment”), whereby APOW assigned the Contract over to YTR. Dec. ¶ 11, Exhibit J.

       Despite Santander’s request for production on APOW, seeking “Documents. . . Relating to

any contract between Yonkers and APOW Relating to the towing and/or storage of motor vehicles.

. . ,” APOW produced neither the contract nor Assignment, even if only to support its denial of

knowledge on the basis of the Assignment to YTR.

       The discrepancy between documents indicating APOW towed the car and those indicating

that YTR was the contracted party at the relevant time requires that the complaint be amended to




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include both towing companies, so that liability may be fully adjudicated. Therefore, Santander

seeks to amend its complaint to add YTR as a defendant.

                                            ARGUMENT

     LEAVE TO AMEND THE COMPLAINT TO NAME YONKERS TOWING &
    RECOVERY LLC AS AN ADDITIONAL DEFENDANT SHOULD BE GRANTED

        Pursuant to Rule 15 of the Federal Rules of Civil Procedure, “The court should freely give

leave as justice so requires.” It is well-settled in the Second Circuit that leave to amend should

be freely granted. Kroshnyi v. U.S. Pack Courier Services, Inc., 771 F.3d 93, 109 (2d Cir. 2014).

“Under this liberal standard, a motion to amend should be denied only if the moving party has

unduly delayed or acted in bad faith, the opposing party will be unfairly prejudiced if leave is

granted, or the proposed amendment is futile.” Agerbrink v. Model Service LLC, 155 F.Supp.3d

448, 452 (S.D.N.Y. 2016). Rule 21 of the Federal Rules of Civil Procedure permits the plaintiff

to add an additional defendant, and “the same standard of liberality afforded to motions to amend

pleadings under Rule 15” is applied in deciding whether to permit joinder under Rule 21. Id.

(internal citation omitted). Rule 20 also permits joinder of a defendant if: “(A) any right to relief

is asserted against them jointly, severally, or in the alternative with respect to or arising out of the

same transaction, occurrence, or series of transactions or occurrences; and (B) any question of

law or fact common to all defendants will arise in the action.” F.R.C.P. Rule 20. Accordingly,

Santander’s motion to amend the Complaint to add YTR should be granted.

        “Pursuant to Federal Rule of Civil procedure 16, ‘[w]hen there is a scheduling order in

effect . . . deadlines for amendment of pleadings ‘may be modified only for good cause and with

the judge’s consent.’” McCormick v. Spano, No. 19-CV-2916 (KMK), 2021 WL 6052161, at *2

(S.D.N.Y. Dec. 20, 2021) (internal citation omitted). In such circumstances, “the lenient standard

under Rule 15(a), which provides leave to amend ‘shall be freely given,’ must be balanced against


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the requirement under Rule 16(b) that the Court’s scheduling order ‘shall not be modified except

upon a showing of good cause.’” Grochowski v. Phoenix Const., 318 F.3d 80, 86 (2d Cir. 2003)

(citing Fed.R.Civ.P. 15(a), 16(b)). “[A] finding of ‘good cause’ depends on the diligence of the

moving party.” Parker v. Columbia Pictures Indus., 204 F.3d 326, 339 (2d Cir. 2000)

       Santander filed its Complaint on Oct. 18, 2022, and APOW filed its Amended Answer on

Nov. 19, 2022. See Sokolof Dec. ¶¶ 6, 8. On April 4, 2023, Santander learned that APOW had

assigned its contract to YTR when Yonkers delivered its discovery responses to Santander’s

discovery demands. See Sokolof Dec. ¶ 9, Exhibit H. The news of this Assignment helped explain

what was previously not understood regarding APOW’s refusal to provide any information

whatsoever about what transpired with respect to the Vehicle, despite some documents

implicating APOW’s involvement. The Assignment also explains why APOW’s responses

otherwise appeared evasive with respect to its relationship with Yonkers. See Sokolof Dec. ¶¶ 8-

9, Exhibits G-H (wherein APOW denied that it tows motor vehicles at Yonkers’ direction

pursuant to a contract it has with Yonkers). Pursuant to the Court’s Individual Rules of Practice,

on April 18, 2023—just two weeks after learning of the Assignment—Santander requested a pre-

motion conference to set a briefing schedule on its motion for leave to amend the Complaint.

Thus, Santander has been diligent in seeking leave to amend the Complaint.

       Santander contends that APOW does not actually lack knowledge of the seizure and

towing of this Vehicle, particularly where it (apparently) shares an owner with YTR. Denying

leave to amend will, in essence, effectuate what appears at face value to be a relatively obvious

attempt by APOW to dodge liability through an apparent shell corporation, YTR. Even Yonkers,

for its part, appears not to recognize a difference between APOW and YTR even after the

Assignment, given that it still informed Santander that the Vehicle was at APOW and not YTR.




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Harold Wustenhoefer also signed the Assignment on behalf of both YTR and APOW, additionally

indicating that the YTR may be a mere alter ego of APOW. See Dec. ¶ 11, Exhibit J. Thus, while

the name of the entity involved in the tow makes little difference to the constitutional issues

involved, both companies should be defendants so the Court may adjudicate whether one, or both,

are liable.

        As described below, Defendants will not be prejudiced by the amendment, there has been

no undue delay in its filing, and the amendment Santander seeks will not be futile. See Sokolof

Dec. ¶¶ 14-15. Furthermore, as you can glean from the attached proposed First Amended

Complaint, Santander intends to file essentially the same allegations with the sole change being

that all the allegations attributable to APOW are now alleged against both APOW and YTR. See

Sokolof Dec. ¶ 6, Exhibit F. Thus, under the liberal standard set forth in FRCP 15, Santander

should be permitted to file a First Amended Complaint.

        A.     Defendants will not be prejudiced

        In determining whether an amendment causes prejudice, the Second Circuit considers

whether the amendment would “(i) require the opponent to expend significant additional resources

to conduct discovery and prepare for trial; (ii) significantly delay the resolution of the dispute; or

(iii) prevent the plaintiff from bringing a timely action in another jurisdiction.” Agerbrink, 155

F.Supp.3d at 454 (quoting Monahan v. New York City Department of Corrections, 214 F.2d 275,

284 (2d Cir. 2000)). “This ‘inquiry involves a balancing process,’ weighing any potential prejudice

to the opposing party against the prejudice that the moving party would experience if the

amendment were denied.” Id. (citing Oneida Indian Nation of New York State v. County of Oneida,

199 F.R.D. 61, 77 (N.D.N.Y. 2000) (determining the non-moving party bears the burden “of

demonstrating that substantial prejudice would result were the proposed amendment to be

granted”)).


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       The party that Plaintiff now seeks to add to the Complaint will not require Defendants to

expend additional resources in discovery, delay the resolution of this action, or impair

Defendants’ ability to present their case. See Sokolof Dec. ¶ 15. The existing claims arise from

the Defendants’ regular policy or custom for handling seized motor vehicles. See Sokolof Dec. ¶

6. Plaintiff seeks to assert the same claims against a new party, YTR, that has taken over the

Contract between Yonkers and APOW. See Sokolof Dec. ¶¶ 6, 15, Exhibit F. Discovery has not

been completed in the present matter and, although the addition of YTR will require further

discovery and a brief extension of the discovery period, APOW provided very little substantive

information, which presumably will instead be obtained from YTR.

       Plaintiff, Yonkers, and APOW have served and responded to discovery demands, but no

depositions have been taken. See Sokolof Dec. ¶¶ 14-15. Given Santander’s need to add YTR to

the Complaint, the parties will need additional time to complete discovery. Nevertheless,

Santander has already served APOW, YTR’s possible alter ego, with discovery. Therefore, YTR—

through APOW’s owner, Mr. Wuestenhoefer—is already on notice that discovery would be

forthcoming from YTR and should be able to comply with the accelerated discovery schedule

proposed in Santander’s letter motion dated May12, 2023, Dkt. No. 40. Moreover, the addition of

YTR will not expand the scope of discovery and will not change Defendants’ discovery burden;

the existing Defendants will have no additional burden other than to abide while discovery is taken

from YTR.

       Defendants’ presentation of their case will also not be materially changed, and certainly

not impaired. Moreover, the proposed amendments should be of no surprise to the Tow

Companies, since APOW was in receipt of Santander’s discovery demands on Feb. 24, 2023,

which specifically targeted the Contract it had with Yonkers (which, in turn, led to the discovery




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of the existence of YTR). See Sokolof Dec. ¶¶ 6, 9. Although APOW refused to produce the

Contract, it was aware of Santander’s request to Yonkers and should have anticipated Yonkers’

production of same. Therefore, Defendants will not be prejudiced if the Court grants Santander

leave to file a First Amended Complaint.

        B.      There has been no undue delay

        There has been no undue delay in filing this amendment. The Second Circuit recognizes

that “[m]ere delay, [] absent a showing of bad faith or undue prejudice, does not provide a basis

for a district court to deny the right to amend.” Agerbrink, 155 F.Supp.3d at 452 (citing State

Teachers Retirement Board v. Fluor Corp., 654 F.2d 843, 856 (2d Cir. 1981)); see also Parker v.

Columbia Pictures Industries, 204 F.3d 326, 339 (2d Cir. 2000). In this case, Santander did not

learn of the Assignment whereby APOW assigned the Contract to YTR until April 4, 2023. See

Sokolof Dec. ¶ 7.

        C.      The amendment is not futile.

        To determine whether an amendment is futile, the Second Circuit applies the same

standard of legal sufficiency applied under FRCP 12(b)(6). Agerbrink, 155 F.Supp.3d at 456. As

such, an amendment will be deemed futile when the complaint, as amended, would fail to state a

claim upon which relief can be granted. Id. To survive dismissal, the amendment must “plead

sufficient facts to ‘state a claim to relief that is plausible on its face.’” Id. (citation omitted). The

court must accept as true all well-pleaded facts and draw all reasonable inferences in the moving

party’s favor. Id. The amendment Santander seeks is not futile because it simply seeks make the

allegations it previously made against APOW as against APOW or YTR. APOW chose not to file

a motion to dismiss Santander’s properly alleged claims and there is no indication that YTR will

elect to file a motion to dismiss. For good measure, Santander will defend its claims herein in the

event an existing Defendant argues the claims are futile.


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       Santander originally brought seven claims against APOW that it now seeks to bring against

YTR. Counts I and II, for violation of civil rights pursuant to title 42 U.S.C. § 1983 for Yonkers’

and the Tow Companies’ deprivation of Santander’s property, both for the unreasonable seizure

of the Vehicle and the continued deprivation of the Vehicle, were not futile as alleged against

APOW and will not be futile as alleged against YTR. In a case brought by Santander against

Yonkers and APOW under similar circumstances,1 Santander Consumer USA, Inc. v. City of

Yonkers (hereinafter, “Mensah”), this Court held APOW liable for its actions when it acted under

color of law2 to seize and deprive interest holders—here, Santander—of their property without due


1
  Santander understands that Yonkers believes the difference between the prior case (relating to
  parking violations) and this case (relating to a seizure incident to arrest) is significant, but
  assumes Yonkers will recognize that Yonkers’ defenses are not relevant to the question of
  amending to add YTR. The difference is not significant for the main claim in this case relating
  to due process. See, e.g. HVT, Inc. v. Port Auth. of NY & NJ, No. 15-cv-5867(MKB)(VMS),
  2018 WL 3134414, at *6 & 11 (E.D.N.Y. Feb. 15, 2018), R&R Adopted, 2018 WL 1409821
  (E.D.N.Y. Mar. 21, 2018) (assessing a seizure “incident [to] unlawful operation and the arrest of
  its vehicle,” and holding that “at a minimum, that proper procedures include that the notice must
  be sent to titled owners, registered owners and record lienholders of the seized vehicles.”).
2
  Courts frequently hold municipal towing and impound contractors liable for acting under color
  of law. See, e.g. Smith v. Insley’s Inc., 499 F.3d 875, 880 (8th Cir. 2007) (private company “was
  performing the traditional governmental function of seizing and securing property for a criminal
  investigation”); Huemmer v. Mayor & City Council of Ocean City, 632 F.2d 371, 372 (4th Cir.
  1980) (truck operator, who removed a vehicle pursuant to a municipal ordinance, was a state
  actor); Stypmann v. City of San Francisco, 557 F.2d 1338, 1341 (9th Cir.1977) (“[The
  government] makes the initial determination that a car will be towed. . . The towing company
  tows the vehicle only at the direction of the [government]. The [government] designates the
  garage to which the vehicle will be towed.”); W. Funding, Inc. v. S. Shore Towing, Inc., No. 19-
  cv-12853(FLW)(TJB), 2021 WL 1399798, at *8 (D.N.J. Apr. 14, 2021) (finding South Shore
  Towing liable because it acted in concert with government officials “without which the car never
  would have entered South Shore’s possession”); Bey v. Due, No.19-cv-00239 (JDK), 2019 WL
  5061183, at *3 (E.D. Tex. Sept. 18, 2019) (“[A] a private towing company may be considered a
  state actor for purposes of § 1983”); Foster v. City of Philadelphia, 2014 WL 5821278, at *22
  (E.D. Pa. Nov. 10, 2014) (“[Towing company] is a state actor for § 1983 purposes by virtue of
  maintaining an ongoing salvor relationship and contract with. . . Philadelphia.”); Lee v.
  NNAMHS, 2007 WL 2462616, at *3 (D. Nev. Aug. 28, 2007) (denying dismissal motion because
  “plaintiff's car was towed at the direction of a state officer and pursuant to laws enacted to further
  the state's interest maintaining an efficient traffic flow”); Tedeschi v. Blackwood, 410 F. Supp.
  34, 41-42 (D. Conn. 1976) (“Meaningful participation by a state agent, pursuant to a state statute,


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process of law. See No. 20-CV-4553 (KMK), 2022 WL 4134718, at *7-*9 (S.D.N.Y. Sept. 12,

2022), appeal dismissed (Dec. 1, 2022), appeal dismissed, No. 22-2635, 2023 WL 2125381 (2d

Cir. Jan. 30, 2023) (holding that due process was not satisfied when defendants Yonkers and

APOW—which acted under color of law pursuant to its contract with Yonkers—seized and

withheld the subject vehicle without a warrant, notice, pre-deprivation hearing, or sufficient post-

deprivation hearing).

        Also in Mensah, this Court found claims asserting APOW violated the New York State

Constitution—Count IV against YTR herein—were viable, although it ultimately held that this

claim was duplicative of claims alleging that APOW violated civil rights pursuant to title 42 U.S.C.

§ 1983. See Mensah, 2022 WL 4134718 at *9; see also Sokolof Decl. Exhibit F at ¶¶ 83-84. Thus,

Santander’s Counts I, II, and IV will not be futile as alleged against YTR. Sokolof Decl. Exhibit

F at ¶¶ 50-71, 83-84.

        Santander’s Counts VI and VII, for replevin and conversion, are also not futile. This Court

held in Mensah that APOW was liable for conversion when it refused to release the subject vehicle

after Yonkers’ original basis for its seizure and storage was removed. See Mensah, 2022 WL

4134718 at *10. Thus, Santander’s claim for replevin is similarly not futile, as an action for

replevin simply requires Santander to show legal title or a superior right of possession, which is

also an element of conversion. Reif v. Nagy, 61 Misc. 3d 319, 323, 80 N.Y.S.3d 629, 632 (N.Y.

Sup. Ct. 2018), aff’d as modified, 175 A.D.3d 107, 106 N.Y.S.3d 5 (2019) (“An action for replevin

requires the plaintiff to show legal title or a superior right of possession . . . [r]elatedly, an action

for conversion requires the plaintiff to prove that the property is in the unauthorized possession of




 in the deprivation of a person's property by another private person unquestionably brings the
 entire transaction ‘under color of state law.”).


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another who acted to exclude the plaintiff’s rights” (internal citations omitted)). Here, Santander

has proof that it has a perfected lien on the Vehicle and that APOW refused to turn over the vehicle

after Yonkers’ basis for the Vehicle’s seizure and storage was removed. See Sokolof Decl. ¶¶ 2-3,

5, Exhibits A-B, D. Thus, its Counts VI and VII will not be futile as alleged against YTR.

       Santander’s Count VIII for the Tow Companies’ tortious interference with its contract with

Turner requires that Santander plead that (1) it held a valid and enforceable contract with Turner;

(2) YTR interfered with those business relations when it towed, stored, and refused to turn over

the Vehicle; (3) YTR acted for a wrongful purpose or used dishonest, unfair, or improper means;

and (4) YTR’s acts injured Santander’s relationship with Turner. See Dardashtian v. Gitman, No.

17 CIV. 4327 (LLS), 2017 WL 6398718, at *8 (S.D.N.Y. Nov. 28, 2017). Here, Santander and

Turner entered into a retail installment contract which, despite knowledge of same, YTR (and/or

APOW) improperly refused to return the vehicle which injured Santander’s relationship with

Turner. See Sokolof Decl. ¶¶ 2-3, 5, Exhibits A-B, D; see also Sokolof Decl. Exhibit F at ¶¶ 103-

05. Thus, Santander has a colorable claim against YTR for tortious interference.

       Santander’s Count IX against YTR for a violation of New York State General Obligations

Law 349 (“GBL 349”) is also sufficiently pled. GBL 349 prohibits “[d]eceptive acts or practices

in the conduct of any business, trade or commerce or in the furnishing of any service in this state.”

Miller v. Sanofi Consumer Healthcare, No. 22 CIV. 574 (LLS), 2023 WL 112553, at *1

(S.D.N.Y. Jan. 5, 2023) (internal citations and quotations omitted). To successfully assert a claim,

Santander must show that YTR engaged in (1) consumer-oriented conduct that is (2) materially

misleading and that (3) Santander suffered injury as a result of the allegedly deceptive act or

practice. Here, Santander alleges that, while operating a consumer-oriented business, YTR: “a)

imposed exaggerated and/or unwarranted storage fees relating to its handling of the subject




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vehicle; b) misrepresented that it had a garageman’s lien when APOW did not follow the

procedures needed to have a lien; c) misrepresented that a police release and hold harmless

agreement were needed in order to redeem and recover the vehicle; d) detained The Subject

Vehicle to force payment of its unwarranted fees.” See Sokolof Decl. Exhibit F at ¶ 117; see also

Sokolof Decl. ¶ 5, Exhibit D (APOW and/or YTR refused to release the Vehicle unless Santander

paid $7,700 and provided a hold harmless agreement).

       Assuming the truth of the facts alleged in the PAC, many of which have already been

proven via the fruits of discovery, there are sufficient factual allegations for Santander’s claims

against YTR to withstand a Rule 12(b)(6) motion, and thus the amendment is not futile.

                                        CONCLUSION

       For the foregoing reasons, Santander respectfully requests that this Court enter an Order

granting Plaintiff leave to serve and file the proposed amended complaint, naming Yonkers

Towing & Recovery LLC as an additional defendant.

Dated: New York, New York                            NORRIS, McLAUGHLIN, P.A.
       May 12, 2023
                                                     By: /s/ Alexander Ryan Sokolof
                                                     Alexander Ryan Sokolof, Esq.
                                                     7 Times Square, 21st Floor
                                                     New York, New York 10036
                                                     Phone: (212) 808-0700
                                                     Facsimile: (212) 808-0844
                                                     arsokolof@norris-law.com
                                                     Attorneys for Plaintiff




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